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:cN THE UNITED sTATEs DISTRICT cooper
FoR THE wEsTERN DISTRICT oF TENNESSEE F|l.ED BY,_, D_C,

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Plaimff, § M%lé§.j”mKL§¢gw
v. ) Cr. No. 05-20091-Ma
SIDNEY THURMAN, §
Defendant. §

 

ORDER ON JU'RY VER.DICT

 

This cause came on for trial on August 2, 2005, the United
States Attorney for this district representing the government, and
defendant, Sidney Thurman, appearing in person and with appointed
counsel, Ms. April Goode.

Jurors Were selected and sworn and opening statements were
presented by counsel. After hearing all proof presented, closing
arguments of counsel and jury charge, the jury began deliberations
on August 3, 2005. After due deliberation, the jury returned into
open court on August 4, 2005 and announced a verdict of NOT GUILTY
as to Counts l and 2 of the Indictment.

The defendant was remanded to the custody of the United States
Marshal.

ENTERED this 13 !{\day of August, 2005.

¢MJM,M

SAMUEL H. MAYS, JR.
UNITED S'I‘ATES DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

